                Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 1 of 23



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 5                            United States District Court
                         For The Western District Of Washington
 6                                     At Tacoma
 7 Daniel Mitchell, Robin Ball, Luke
   Rettmer, Nathaniel Casey,                         The Honorable Ronald B. Leighton
 8 Matthew Wald, Second Amendment
   Foundation, and National Rifle
 9 Association,                                      No. 3:19-cv-05106-RBL
10
                         Plaintiffs,                 Plaintiffs’ Motion For
11                                                   Summary Judgment
           v.
12                                                   Noting Date: April 24, 2020
   Chuck Atkins, in his official capacity as the
13 Sheriff of Clark County, Washington, Craig        Oral Argument Requested
   Meidl, in his official capacity as the Chief of
14 Police of Spokane, Washington, and Teresa
   Berntsen, in her official capacity as the
15 Director of the Washington State Department
   of Licensing,
16
                         Defendants,
17
          and
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   Safe Schools Safe Communities,
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                         Defendant-Intervenor.
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 Plaintiffs’ Motion For Summary Judgment - i
 No. 3:19-cv-05106-RBL
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                 Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 2 of 23



 1                                                    TABLE OF CONTENTS

 2 I. Introduction ..................................................................................... 1

 3 II. Factual Background ......................................................................... 2
         A. The Banned Firearms .................................................................................................. 2
 4
         B. Semi-automatic Rifle Sales Are Governed By Extensive Safety Regulation. ................ 2
 5
         C. The Banned Firearms Are In Common, Lawful Use In America And
 6          Washington State ........................................................................................................ 4
 7 III. Argument ........................................................................................ 6
         A. Each Plaintiff Has Established Standing ...................................................................... 6
 8
               1. The Under-21 Plaintiffs Have Standing ........................................................... 6
 9
                       a) Each Plaintiff Has Suffered an Injury In Fact ....................................... 6
10
                       b) The Injury Is “Fairly Traceable” To I-1639 ........................................ 6
11                     c) The Remedy Sought Will Remove the Obstacle .................................. 7
12                       2. The Dealer Plaintiffs Have Standing ............................................................... 7

13                       3. The Organizational Plaintiffs Have Standing ................................................... 7
               B. The Under-21 Sales Ban Infringes Second Amendment Rights. .................................. 7
14
                         1. The Scope Of This Ban Renders It Unconstitutional Under Any Level
15                          Of Scrutiny, Without Any Means-Ends Or Balancing Test ............................. 8
16                       2. The State Bans Arms Which Are Protected By The Second
                            Amendment. .................................................................................................. 10
17
                                   a) The Restricted Arms Are In Common Use. ........................................ 11
18
                                   b) The Restricted Arms Are Used By Law Abiding Citizens For
19                                    Lawful Purposes................................................................................. 13

20                                 c) The Restricted Arms Are Used For Self-Defense In The Home ....... 13
                         3. The Purchase Restriction Is Categorically Unconstitutional. ........................ 14
21
                         4. The Restriction Impermissibly Burdens Second Amendment Rights. ........... 15
22
               C. The Interstate Sales Ban Violates The Commerce Clause......................................... 16
23             D. The Plaintiffs Are Entitled to an Award of Attorney’s Fees ...................................... 18
24 IV. Conclusion .................................................................................... 18

25

26

27

 Plaintiffs’ Motion For Summary Judgment - ii
 No. 3:19-cv-05106-RBL
                                                                                                          Ard Law Group PLLC
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                                                                                                          Phone: (206) 701-9243
                   Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 3 of 23



  1                                                      TABLE OF AUTHORITIES

 2                                                                    CASES
 3 Bauer v. Becerra, 858 F.3d 1216 (9th Cir. 2017) ........................................................................... 15

 4 Brown-Forman Distillers Corp. v. New York State Liquor Auth., 476 U.S. 573 (1986) .................... 16

 5 Caetano v. Massachusetts, 136 S.Ct. 1027 (2016) ........................................................................... 11
   Camps Newfound/Owatonna, Inc. v. Town of Harrison, Me., 520 U.S. 564 (1997) .................... 16, 17
 6
   Department of Revenue of Ky. v. Davis, 553 U.S. 328 (2008) ......................................................... 17
 7
   District of Columbia v. Heller, 554 U.S. 570 (2008) ............................................................... passim
 8
   Ex Parte Young, 209 U.S. 123 (1908) ........................................................................................... 18
 9 Foster-Fountain Packing Co. v. Haydel, 278 U.S. 1 (1928) ............................................................. 17

10 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167 (2000) ....................... 7

11 Hollis v. Lynch, 827 F.3d 436 (5th Cir. 2016) ............................................................................... 13
   Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) ........................................................................ 6
12
   Mahoney v. Sessions, 871 F.3d 873 (9th Cir. 2017) ........................................................................ 15
13
   McDonald v. City of Chicago, 561 U.S. 742 (2010) ................................................................. 8, 9, 15
14
   Monell v. New York City Dept. of Social Services, 436 U.S. 658 (1978) ........................................... 18
15 Nationwide Biweekly Administration, Inc. v. Owen, 873 F.3d 716 (9th Cir. 2017) ........................... 18

16 New England Power Co. v. New Hampshire, 455 U.S. 331 (1982) ................................................... 17

17 New York State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir. 2015) ....................... 12
   Oregon Waste Systems, Inc. v. Department of Environmental Quality of State of Or.,
18
       511 U.S. 93 (1994).................................................................................................................. 16
19 Silvester v. Harris, 843 F.3d 816 (9th Cir. 2016) ................................................................... passim

20 State v. Trump, 2020 WL 949934 (W.D. Wash. 2020) .................................................................. 6

21 U.S. v. Chovan, 735 F.3d 1127 (9th Cir. 2013).............................................................................. 14
   Worman v. Healey, 922 F.3d 26 (1st Cir. 2019) ............................................................................ 12
22
                                                             STATUTES
23
   18 U.S.C. § 922(b)(1) .................................................................................................................. 14
24
   42 U.S.C. § 1983 ......................................................................................................................... 18
25
   H.R. 3355, Pub.L. 103–322 .......................................................................................................... 10
26 RCW 9.21.124 ............................................................................................................................... 2

27 RCW 9.41.010 ............................................................................................................................... 2

  Plaintiffs’ Motion For Summary Judgment - iii
  No. 3:19-cv-05106-RBL
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                                                                                                               Phone: (206) 701-9243
                  Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 4 of 23



 1 RCW 9.41.240 ......................................................................................................................... 2, 14

 2                                                 CONSTITUTIONAL PROVISIONS

 3 U.S. Const. Am. 2. .....................................................................................................................1, 7

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 Plaintiffs’ Motion For Summary Judgment - iv
 No. 3:19-cv-05106-RBL
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              Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 5 of 23



 1 I.       Introduction

 2          The Second Amendment provides that “the right of the people to keep and bear Arms . . .

 3 shall not be infringed.” U.S. Const. Am. 2. Infringing that right, Washington state forbids 18 to 20

 4 year old adults from purchasing semi-automatic rifles. Today, Washington residents aged 18 to

 5 20—otherwise treated as adults—cannot legally purchase the most commonly owned long rifles.

 6 This is the broadest, most expansive firearms ban anywhere in the nation. In Washington, a 19 year

 7 old woman can only exercise her fundamental, enumerated, Constitutional right to keep and bear

 8 common, lawful arms if she happens to have an older relative willing to give her the firearm as a

 9 gift. The Constitution does not require any adult to secure her parent’s permission as the condition

10 of exercising her Constitutional rights. Washington’s ban on purchases of the most commonly

11 owned type of rifle in the country—rifles which are “typically possessed for lawful purposes” of

12 all protected types—infringes the Second Amendment. See, i.a., District of Columbia v. Heller, 554

13 U.S. 570, 625 (2008).

14          In Heller, the Court made clear that the state cannot ban entire classes of common arms.

15 Such a ban is unconstitutional per se, making it irrelevant whether the state can proffer appealing

16 policy reasons for enacting such a ban, such as by citing isolated examples of crimes committed

17 with firearms of the same class, or can reassure this Court that there remain other means by which

18 a citizen can protect himself or herself—just as a ban on adults from using Twitter could not be

19 justified by pointing to other avenues by which they could express themselves. No attempt at

20 justification can survive the constitutional prohibition against banning an entire class of rifles which

21 millions of Americans, and Washingtonians, have safely and lawfully owned and used for decades.

22          An additional constitutional infirmity is the state’s ban on interstate sales of these same

23 long guns, a textbook violation of the interstate commerce clause. The interstate sales ban serves

24 no purpose at all, and cannot survive the exacting scrutiny required, no matter what post hoc

25 justifications the state proffers in defense.

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 Plaintiffs’ Motion for Summary Judgment - 1
 No. 3:19-cv-05106-RBL
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                                                                                 Phone: (206) 701-9243
              Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 6 of 23



 1 II.      Factual Background

 2          A. The Banned Firearms

 3          Initiative No. 1639 added a definition to Washington law:

 4       ‘Semiautomatic assault rifle’ means any rifle which utilizes a portion of the energy of a
         firing cartridge to extract the fired cartridge case and chamber the next round, and which
 5       requires a separate pull of the trigger to fire each cartridge.

 6 RCW 9.41.010. The Initiative banned sales of so-called “semiautomatic assault rifles” to persons

 7 age 18, 19, or 20, see RCW 9.41.240, and to anyone who does not reside in Washington state. See

 8 RCW 9.21.124.

 9          Every “rifle which utilizes a portion of the energy of a firing cartridge to extract the fired

10 cartridge case and chamber the next round, and which requires a separate pull of the trigger to fire

11 each cartridge” is a semi-automatic rifle. Mitchell Decl. ¶ 5. The statutory definition that adds the

12 word “assault” to the commonly known and previously understood definition which describes the

13 mode of operation of any semi-automatic action adds nothing informative. Just like rifles, a shotgun

14 “which utilizes a portion of the energy of a firing cartridge to extract the fired cartridge case and

15 chamber the next round, and which requires a separate pull of the trigger to fire each cartridge” is

16 a semi-automatic shotgun, a common firearm. Mitchell Decl. ¶ 9. A handgun “which utilizes a

17 portion of the energy of a firing cartridge to extract the fired cartridge case and chamber the next

18 round, and which requires a separate pull of the trigger to fire each cartridge” is a semi-automatic

19 pistol, and perhaps the most common firearm of any sort. Mitchell Decl. ¶ 10. Thus, this new

20 statutory definition covers every semi-automatic rifle model, of every visual appearance, with or

21 without any particular feature or set of features. Each such rifle operates by using cartridge energy

22 to load a new cartridge. Every rifle that fits this definition is semi-automatic, meaning, it requires

23 a separate trigger pull to fire each round.

24          B. Semi-automatic Rifle Sales Are Governed By Extensive Safety Regulation.

25          Dan Mitchell and Robin Ball are licensed by both the federal government and the state to

26 sell firearms. Mitchell Decl. ¶ 2; Ball Decl. ¶ 2. Before selling any firearm, Mitchell and Ball require

27 the purchaser to pass the legally mandated background check process. The process begins by

 Plaintiffs’ Motion for Summary Judgment - 2
 No. 3:19-cv-05106-RBL
                                                                                 Ard Law Group PLLC
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                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243
              Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 7 of 23



 1 running the purchaser’s name, date of birth, government issued ID number, and other information

 2 through the federally-maintained National Instant Check System, or NICS. Mitchell Decl. ¶ 19;

 3 Ball Decl. ¶ 10. The NICS system checks various databases to determine if the prospective

 4 purchaser is forbidden to own or possess a firearm. Mitchell Decl. ¶ 20. Neither Mitchell nor Ball

 5 ever complete a firearm sale unless and until the NICS check confirms that there is no reason to

 6 believe the person is forbidden to purchase or possess the firearm. Mitchell Decl. ¶ 22; Ball Decl.

 7 ¶ 11.

 8          After the passage of I-1639, the background check became more involved. While the

 9 prospective customer uses the same BATF form today as prior to passage, the application to

10 purchase a semi-automatic rifle is sent to the local law enforcement agency in the jurisdiction of

11 the buyer’s residence. That agency then runs the NICS check, and also checks with Washington

12 Department of Social and Health Services for involuntary commitments (although those are

13 supposed to already be reported to the NICS system by the state), and checks for open restraining

14 orders or pending criminal charges in local court. The rifle is tagged for mandatory 10 business day

15 storage. Upon receiving an “approved” SAR application, the customer is contacted to pick up

16 their rifle. To pick up the rifle, the customer reviews and reaffirms that nothing on the BATF form

17 has changed since its original date of signature. At that point, the rifle is delivered. Mitchell Decl.

18 ¶¶ 29-36.

19          Prior to the passage of I-1639, Mitchell routinely sold semi-automatic rifles to purchasers

20 in other states. Mitchell Decl. ¶ 17. Such sales were only made by Michell after performing a NICS

21 check or through a person holding a FFL in the purchaser’s state. Mitchell Decl. ¶¶ 37-38. Any

22 person who found a semi-automatic rifle in Mitchell’s stock that she wanted to purchase could do

23 so either in person after a successful NICS check, or by having Mitchell ship the firearm to a

24 designated FFL in the purchaser’s state. Mitchell Decl. ¶ 38. The receiving FFL would process

25 the necessary background check, consistent with federal and any applicable state law Mitchell

26 Decl. ¶ 38. Thus, all interstate firearms sales by Mitchell were subject to background checks. Prior

27 to the passage of I-1639, Mitchell estimates that as much as 30% of his sales were of semi-automatic

 Plaintiffs’ Motion for Summary Judgment - 3
 No. 3:19-cv-05106-RBL
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                                                                                 Phone: (206) 701-9243
                   Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 8 of 23



 1 rifles to purchasers in other states. Mitchell Decl. ¶ 17. He has lost significant business due to the

 2 interstate sales ban. Mitchell Decl. ¶ 17. He still receives occasional inquiries for interstate sales of

 3 semi-automatic rifles, and must always turn them down. Mitchell Decl. ¶¶ 18-21.

 4               C. The Banned Firearms Are In Common, Lawful Use In America And Washington

 5                   State

 6               Semi-automatic rifles are, by any estimate and any definition, in common and lawful use.

 7 The most recent data from the Bureau of Alcohol, Tobacco, and Firearms shows that 2,504,092

 8 rifles were manufactured in the United States in 2017. Ard Decl. Exh. A at 1. 158,871 of those were

 9 exported, id. at 3, while another 572,309 were imported. Id. at 5. This tallies to a net domestic

10 increase of 2,917,530 rifles in 2017 alone. Prior years show similar increases, numbering in the

11 millions each year. American ownership of rifles increased by 4,821,743 in 2016; by 4,347,909 in

12 2015, by 3,963,507 in 2014, and by 5,355,628 in 2013. All told, in the 20 years from 1998 to 2017,

13 Americans imported and manufactured for domestic purchase over 55 million rifles.

14               No entity tracks rifles by action type, making it impossible to procure a similarly exact

15 number for the percentage of those fifty five million rifles that have a semi-automatic action, as

16 opposed to bolt, lever, pump, or break action. The closest available estimate comes from the

17 National Shooting Sports Foundation, which estimates the number of modern sporting rifles1

18 manufactured in America each year. This subset of all semi-automatic rifles nonetheless represents

19 over half of all rifles manufactured in the United States in 2017. Ard Decl. Exh. B. Given that 52%

20 of all rifles manufactured for U.S sales in 2017 were one specific type of semi-automatic rifle, the

21 fraction of all rifles that are semi-automatic in operation must be higher. Even if modern sporting

22 rifles constituted the only semi-automatic rifles available in the United States, in 2017 alone,

23 Americans purchased over one and a half million of those semi-automatic rifles.

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         Modern Sporting Rifle is the industry’s name for AR style semi-automatic rifles, used to distinguish this specific type
27
          of semi-automatic rifle from other rifles. See, e.g., https://www.nssf.org/msr/.

 Plaintiffs’ Motion for Summary Judgment - 4
 No. 3:19-cv-05106-RBL
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                                                                                                  Bainbridge Island, WA 98110
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                 Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 9 of 23



 1             This preference for semi-automatic rifles is long standing. For example, the Civilian

 2 Marksmanship Program2 has for years sold U.S. military surplus M1 Garand rifles to civilians. The

 3 M1 Garand is a semi-automatic rifle, newly banned in Washington state, despite that the federal

 4 government has sold them to the public through FFLs for decades. They remain available today,

 5 and an interested person can begin the purchase process on the website of the CMP at

 6 https://thecmp.org/sales-and-service/m1-garand/.

 7             Washington state is representative of the country as a whole. As both Mitchell and Ball

 8 testify, they routinely sell many, many semi-automatic rifles. Mitchell Decl. ¶ 14; Ball Decl. ¶ 7.

 9 Semi-automatic rifles constitute a majority of the rifles they sell to Washington residents. Mitchell

10 Decl. ¶ 15; Ball Decl. ¶ 8. By any standard that has been employed by a federal court in assessing

11 firearms regulations, all rifles, and even the subset of semi-automatic rifles are in common use.

12             Furthermore, the overwhelming use of these common firearms is lawful. No one can draw

13 any other conclusion from their prevalence compared to the miniscule amount of crime committed

14 with rifles of all sorts. In every year from 2014 to 2018, for example, homicides with rifles numbered

15 fewer than homicides committed with blunt weapons or with hands and feet. Ard Decl. Exh. C.

16 Regardless of how many individual tragedies the state identifies, it is literally impossible to show

17 that any statistically significant fraction of all rifles, or even semi-automatic rifles, are used in any

18 kind of crime. Even if every rifle used in a homicide in 2017 was also sold in 2017, that would

19 constitute only 390/2,917,530 or 0.013% of rifles used to commit murder. The state cannot cobble

20 together any crime statistic that rebuts the truth: the vast majority—well over 99.9%—of all semi-

21 automatic rifle owners in the United States are law-abiding citizens who use their lawfully

22 possessed semi-automatic rifles in lawful ways.

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         The CMP first existed within the Department of War, then the Department of the Army, and now is a federally
27
          chartered 501(c)(3). See https://thecmp.org/about/.

 Plaintiffs’ Motion for Summary Judgment - 5
 No. 3:19-cv-05106-RBL
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                                                                                         Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 10 of 23



 1 III.     Argument

 2          A. Each Plaintiff Has Established Standing

 3          In order to establish standing, a plaintiff must allege: (1) plaintiff has suffered a distinct and

 4 palpable injury as a result of the defendant’s conduct; (2) the injury is fairly traceable to the

 5 challenged conduct; and (3) the injury is likely to be redressed if the requested relief is granted.

 6 State v. Trump, 2020 WL 949934 (W.D. Wash. 2020); Lujan v. Defenders of Wildlife, 504 U.S. 555,

 7 560 (1992). The record in this case demonstrates that each group of plaintiffs, and each plaintiff

 8 within each group, has satisfied the threshold requirements for standing.

 9               1. The Under-21 Plaintiffs Have Standing

10                   a)   Each Plaintiff Has Suffered an Injury In Fact

11          Each of the plaintiffs who was denied the right to purchase a firearm due to I-1639 has been

12 deposed, and during their depositions each described the injury suffered as a result of the

13 challenged law:

14          Matthew Wald testified that he intended to purchase a semi-automatic rifle, and when he

15 sought out a dealer from whom to purchase the rifle, he was refused. Ard Decl. Exh. E. Luke

16 Rettmer and Nathaniel Casey faced the same bar. Ard Decl. Exh. F and G. Unlike cases in which

17 the plaintiff fears some future harm, and the court rejected that injury as merely speculative, the

18 plaintiffs who were denied purchases in this case have already suffered an injury in fact.

19                   b)   The Injury Is “Fairly Traceable” To I-1639

20          It is similarly undisputed in this case that the refusal of gun dealers to sell a semi-automatic

21 rifle to these plaintiffs is the reason that they were unable to purchase them. As with the injury-in-

22 fact requirement this case differs from cases in which courts have denied standing based upon the

23 failure to establish a causal relationship between the injury suffered and the actions taken by the

24 defendants. The testimony of the gun dealers themselves establishes that they refrained from

25 making an otherwise profitable sale of semi-automatic rifles because of I-1639. Mitchell Decl. ¶ 22.

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 Plaintiffs’ Motion for Summary Judgment - 6
 No. 3:19-cv-05106-RBL
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                                                                                    Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 11 of 23



 1                   c)    The Remedy Sought Will Remove the Obstacle

 2          The last element of the standing test is also clear: if this Court declares that I-1639 violates

 3 the Second Amendment, the plaintiffs’ rights will be restored and they will be able to purchase the

 4 firearms that they have chosen from Ball and Mitchell. Mitchell will be able to resume interstate

 5 sales of those same firearms, subject to background checks as required.

 6               2. The Dealer Plaintiffs Have Standing

 7          This court has already determined that the dealer plaintiffs have standing: “It is difficult to

 8 see how the Dealers could sustain a more concrete form of injury without actually violating the

 9 law, which they are not required to do. The standing and ripeness requirements have therefore

10 been satisfied.” Dkt 044 Order on Motions to Dismiss, 7:15-18.

11               3. The Organizational Plaintiffs Have Standing

12          It is well established that an organization representing the interests of individual plaintiffs

13 who themselves have standing may sue to protect the interests of the individuals whom they

14 represent. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81

15 (2000). In this case the individual plaintiffs also have standing, the interests at stake are germane

16 to the organizations’ purposes, and the participation of individual plaintiffs is not required to award

17 the requested relief.

18          B. The Under-21 Sales Ban Infringes Second Amendment Rights.

19          The Second Amendment provides that “the right of the people to keep and bear Arms . . .

20 shall not be infringed.” U.S. Const. Am. 2. This protects the right of people to own and bear those

21 types of firearms that are in common use by law abiding citizens for lawful purposes. See generally,

22 Heller, 554 U.S. 570. This right includes the “individual right to possess and carry weapons” for

23 lawful purposes, including self-defense. Id. at 592. In Heller, the Court invalidated a broad ban on

24 an entire category of firearms, finding that it could not survive under “any of the standards of

25 scrutiny that we have applied to enumerated constitutional rights.” Id. at 628 and n.27. In other

26 words, this categorical ban fails to satisfy the applicable standard, which must face at least

27 intermediate scrutiny, but should face a much more stringent test.

 Plaintiffs’ Motion for Summary Judgment - 7
 No. 3:19-cv-05106-RBL
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                                                                                  Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 12 of 23



 1          The Court subsequently held in McDonald v. City of Chicago, 561 U.S. 742 (2010) that the

 2 right to keep and bear arms is protected against infringement by the states, just as against the

 3 federal government. Id. at 750. The Court described it as “among those fundamental rights

 4 necessary to our system of ordered liberty.” Id. at 778. Washington state may not simply “enact

 5 any gun control law that [it] deem[s] to be reasonable.” Id. at 783 (plurality opinion).

 6          The Ninth Circuit reviews firearms regulation by finding certain regulations

 7 “unconstitutional under any level of scrutiny” and adopting tiers of scrutiny for others:

 8      A law that imposes such a severe restriction on the fundamental right of self defense of the
        home that it amounts to a destruction of the Second Amendment right is unconstitutional
 9      under any level of scrutiny. . . A law that implicates the core of the Second Amendment
        right and severely burdens that right warrants strict scrutiny. . . Otherwise, intermediate
10      scrutiny is appropriate. If a challenged law does not implicate a core Second Amendment
        right, or does not place a substantial burden on the Second Amendment right, the court
11      may apply intermediate scrutiny.

12 Silvester v. Harris, 843 F.3d 816, 821 (9th Cir. 2016) (internal citations and alterations omitted).

13 Here, quite plainly the ban is unconstitutional under any level of scrutiny. Unlike bans which have

14 received strict or intermediate scrutiny, this ban amounts to a destruction of the Second

15 Amendment right for the adults it affects. However reasonable Washington considers its ban—

16 forbidding the purchase of the most common type of rifle that has been made, used, and sold in the

17 United States in enormous numbers for many decades—it may not simply make the exercise of

18 this fundamental right contingent on the permission of an adult’s older relative.

19               1. The Scope Of This Ban Renders It Unconstitutional Under Any Level Of

20                   Scrutiny, Without Any Means-Ends Or Balancing Test

21          Heller and McDonald establish a presumption that ownership and use of firearms protected

22 by the Second Amendment “shall not be infringed,” and that the government bears the burden of

23 proving a sufficiently robust justification for restrictions. To satisfy its high burden, the state must

24 show the restriction falls within the text of the Amendment, as informed by the history and

25 tradition of firearms ownership, use, and restrictions in the United States. See Heller, 554 U.S. at

26 634-36. The Heller Court specifically rejected the invitation to apply “intermediate scrutiny” and

27 rejected the interest balancing test proposed by the dissent. 554 U.S. at 634-35. The McDonald

 Plaintiffs’ Motion for Summary Judgment - 8
 No. 3:19-cv-05106-RBL
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                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243
                 Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 13 of 23



 1 Court reiterated this standard, again rejecting a role for “judges to assess the costs and benefits of

 2 firearms restrictions and thus to make difficult empirical judgments in an area in which they lack

 3 expertise.” McDonald, 561 U.S. at 790–91. Thus, this Court’s review should determine whether

 4 Washington’s law restricts the right to keep and bear arms as it was understood by the drafters and

 5 enactors of both the Second and Fourteenth Amendments. Heller, 554 U.S. at 626-34. It will find

 6 that the law “imposes such a severe restriction on the fundamental right of self defense of the home

 7 that it amounts to a destruction of the Second Amendment right [and] is unconstitutional under

 8 any level of scrutiny.” Silvester, 843 F.3d at 281. The law bars 18, 19, and 20 year old adults from

 9 purchasing any model of semi-automatic rifle, akin to the blanket handgun ban at issue in Heller, a

10 ban which the Supreme Court agreed failed any degree of scrutiny.

11              The state’s decision to call all these common rifles “assault” rifles has no basis in the

12 classification of firearms. It was adopted to make the passage of I-1639 more likely, and to obfuscate

13 the immense and unprecedented scope of the ban. This plain fact was conceded by the Violence

14 Policy Center:3

15          Defining an assault weapon—in legal terms—is not easy. It’s not merely a matter of going
            after guns that are ‘black and wicked looking.’ Although those involved in the debate know
16          the weapons being discussed, it’s extremely difficult to develop a legal definition that
            restricts the availability of assault weapons without affecting legitimate semi-automatic
17          guns.4

18 See http://www.vpc.org/studies/awaconc.htm. Thus, rather than clarify the scope of the law’s

19 restriction, the phrase “semiautomatic assault rifle” serves the purpose of confusing the public

20 about the scope of the law’s restriction:

21          Assault weapons—just like armor-piercing bullets, machine guns, and plastic firearms—
            are a new topic. The weapons’ menacing looks, coupled with the public’s confusion over
22          fully automatic machine guns versus semi-automatic assault weapons—anything that looks
            like a machine gun is assumed to be a machine gun—can only increase the chance of public
23          support for restrictions on these weapons.

24

25

26   3
         The Violence Policy Center claims that it “works to stop gun death and injury through research, education, advocacy,
          and collaboration.” See http://vpc.org/about-the-vpc/.
27   4
         All semi-automatic guns are legitimate, whatever the Violence Policy Center thinks.

 Plaintiffs’ Motion for Summary Judgment - 9
 No. 3:19-cv-05106-RBL
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                                                                                                Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 14 of 23



 1 Id. In other words, the state selected this additional word for the definition to make the banned

 2 rifles sound politically unpalatable. “Semiautomatic assault rifle” has all the constitutional

 3 significance of “dark money” in the First Amendment context. Adding the pejorative label

 4 ‘assault’ onto the existing understood definition of a semi-automatic rifle signifies nothing more

 5 than “these are rifles the state does not like.” In that, the definition does have constitutional

 6 significance, inasmuch as it shows that the purpose of the Second Amendment was to preclude

 7 such a law:

 8       The very enumeration of the right takes out of the hands of government—even the Third
         Branch of Government—the power to decide on a case-by-case basis whether the right is
 9       really worth insisting upon. A constitutional guarantee subject to future judges’
         assessments of its usefulness is no constitutional guarantee at all. Constitutional rights are
10       enshrined with the scope they were understood to have when the people adopted them,
         whether or not future legislatures or (yes) even future judges think that scope too broad.
11
     Heller, 554 U.S. at 634–35.
12
             As this Court is well aware, the federal government and several states have at various times
13
     banned or restricted “assault rifles,” and I-1639 purported to piggy-back on those bans. Perhaps
14
     the State will even attempt to convince the court that this ban is like those bans. That is false. The
15
     ban at issue in this case is broader than any rifle ban ever attempted by any jurisdiction in the United
16
     States. Other “assault weapons” bans restricted a small subset of semi-automatic rifles, often
17
     listing specific models or requiring them to have a combination of certain militaristic features such
18
     as pistol grips or bayonet lugs or muzzle brakes. See, e.g., H.R. 3355, Pub.L. 103–322. Prior to this
19
     ban, no American jurisdiction has ever attempted to simply ban the purchase of all semi-automatic
20
     rifles. Adding the word “assault” to the known definition in no way mitigates the breadth of this
21
     ban. The ban certainly covers the iconic and wildly popular AR-15 style rifle, but also covers the
22
     most popular hunting rifles that decline to include military-looking cues, and even bans purchase
23
     of the .22 caliber rifles that might be found at a Boy Scout rifle merit badge clinic.
24
                 2. The State Bans Arms Which Are Protected By The Second Amendment.
25
             The scope of the protections of the Second Amendment is plain: Washington may not
26
     infringe the right of its people to keep and bear firearms that are in common use and are “typically
27

 Plaintiffs’ Motion for Summary Judgment - 10
 No. 3:19-cv-05106-RBL
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                                                                                   Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 15 of 23



 1 possessed by law-abiding citizens for lawful purposes,” Heller, 554 U.S. at 624-25, where there is

 2 no history or tradition of bans on those firearms. In fact, “[t]he Second Amendment extends, prima

 3 facie, to all instruments that constitute bearable arms.” Heller, 554 U.S. at 582. Rifles., including

 4 semi-automatic rifles, constitute “bearable arms.”

 5          Rifles—the subject of this ban, just as “handguns” were the subject of Heller and “stun

 6 guns” the subject of Caetano v. Massachusetts, 136 S.Ct. 1027 (2016)—are in common use, with

 7 over 55 million sold in the U.S. in the past twenty years. As such, the state has banned arms

 8 protected by the Second Amendment. Even if the state can narrow the relevant category from rifles

 9 to semi-automatic rifles, then attempt to ban the subset of these common arms, the narrower

10 category of semi-automatic rifles still fits both these tests perfectly. Quite literally millions of semi-

11 automatic rifles are owned by private citizens in the United States, and they are commonly sold in

12 Washington, with untold thousands at least in circulation. Rifles of every sort are so rarely involved

13 in crime that the likelihood of a semi-automatic rifle being used other than for a lawful purpose by

14 a law-abiding person is effectively zero.

15                   a)   The Restricted Arms Are In Common Use.

16          By any definition, semi-automatic rifles are in common use in the United States and in

17 Washington. Indeed, every court to consider the question has found this result. Even courts which

18 have upheld bans on subcategories of semi-automatic rifles have conceded that this category of

19 rifles is overwhelmingly common in the United States.

20          The Supreme Court has set a lower bound for determining whether a category of weapon

21 is “in common use.” In Caetano v. Massachusetts, 136 S.Ct. 1027 (2016), Justice Alito’s

22 concurrence made clear that stun guns were in common use in the United States where the

23 undisputed record showed that approximately 200,000 civilians owned stun guns, which were legal

24 in 45 states. Id. at 1033. Here, there can be no dispute that semi-automatic rifles are in common

25 use, where the available data show that nearly 10 times as many semi-automatic rifles were sold to

26 private owners in the United States in just 2017. See Ard Decl. Exhs. A and B. Following Caetano’s

27 use of total ownership as the measure of “common use,” the commonality of semi-automatic rifles

 Plaintiffs’ Motion for Summary Judgment - 11
 No. 3:19-cv-05106-RBL
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                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 16 of 23



 1 is plain: in just the past decade, multiple millions of semi-automatic rifles have entered private

 2 ownership, far beyond the threshold of Caetano.

 3          Nor can there be any reasonable dispute that semi-automatic rifles are in common use

 4 within Washington. The state itself has no idea how many semi-automatic rifles are in private

 5 hands in the state. There is no reason to doubt that national trends are equally applicable here. The

 6 dealer plaintiffs testified to how routinely they sell semi-automatic rifles. Mitchell Decl. ¶ 17; Ball

 7 Decl. ¶ 7-8.

 8          Next, when other courts have reviewed bans on much narrower subsets of semi-automatic

 9 rifles—for example, those with particular features like pistol grips or removable magazines—they

10 have uniformly found that even defined subsets of semiautomatic rifles constitute rifles in common

11 use. For example, in New York State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir.

12 2015), the court reviewed a challenge to a state law that banned ownership of a “semiautomatic

13 firearm that contained at least two listed military-style features, including a telescoping stock, a

14 conspicuously protruding pistol grip, a bayonet mount, a flash suppressor, and a grenade

15 launcher.” Id. at 248. (This ban, obviously, is broader, covering any semi-automatic rifle,

16 regardless of features.) The court had no trouble concluding that the narrow subset of semi-

17 automatic rifles at issue were nonetheless in common use. Id. at 255. Similarly, in Worman v.

18 Healey, 922 F.3d 26 (1st Cir. 2019), the Court concluded that where “nearly 5,000,000 people

19 owned at least one” of the defined subset of semi-automatic firearms (again, rifles with certain

20 proscribed features), that subset of rifles was in common use. Here, of course, there are vastly more

21 total semi-automatic rifles in private ownership than any defined subset, and must necessarily be

22 in common use.

23          Other courts have concluded that categories of arms are in common use where very few

24 jurisdictions ban them—a test that also incorporates the Second Amendment’s limit on creating

25 new, ahistorical bans. The concurrence in Caetano looked to this fact in striking down the stun gun

26 ban, and the Fifth Circuit considered the long-standing and widespread bans on fully automatic

27 machine guns relevant to finding them not in common use in Hollis v. Lynch, 827 F.3d 436 (5th Cir.

 Plaintiffs’ Motion for Summary Judgment - 12
 No. 3:19-cv-05106-RBL
                                                                                 Ard Law Group PLLC
                                                                                 P.O. Box 11633
                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243
                 Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 17 of 23



 1 2016). Under this test, too, the ban fails. No U.S. jurisdiction—none, anywhere, ever—has

 2 attempted to impose a categorical ban on private purchase of all semi-automatic rifles.

 3                       b)     The Restricted Arms Are Used By Law Abiding Citizens For Lawful

 4                              Purposes.

 5              The sheer number of semi-automatic rifles owned by private citizens in the United States

 6 demonstrates that this category of firearms is not only in common use, but that they are used by

 7 law-abiding citizens for lawful purposes.5 The amount of crime committed with rifles of all types—

 8 a broader category than semi-automatic rifles—is miniscule. For homicide, as an example, killings

 9 with rifles are dwarfed by killings with fists and blunt objects. See Ard Decl. Exh. C. The

10 overwhelming majority of semi-automatic rifles are quite plainly used only by law-abiding citizens

11 for lawful purposes. Indeed, in any given year for the past decades, it is obvious that the number of

12 semi-automatic rifles purchased exceeds the total number of rifles used for crime by a multiple of

13 thousands. Any comparison of the BATF rifle sales data and FBI crime data compels only one

14 conclusion: the overwhelmingly vast majority, far over 99.9%, of all rifles are used lawfully. This is

15 no new trend, and shows no sign of reversing. Rifles last for years, even for decades. During the

16 useful life of the tens of millions of rifles sold over the last twenty years, the rate of all manner of

17 violent crime has declined, a decline that thankfully continues even today. See Ard Decl. Exh. D.

18 In light of the ever-increasing number of semi-automatic rifles in private hands, simple math

19 compels the conclusion that the miniscule percentage of rifles used for any unlawful purposes

20 declines each and every year.

21                       c)     The Restricted Arms Are Used For Self-Defense In The Home

22              The state’s ban amounts to no less than “such a severe restriction on the fundamental right

23 of self defense of the home that it amounts to a destruction of the Second Amendment right.”

24 Silvester, 843 F.3d at 821. First, the banned firearms are used for self-defense in the home. By all

25
     5
         Any attempt to limit the scope of the right exclusively to home self-defense misstates the Supreme Court’s
26
          interpretation of the right in Heller. Lawful use of firearms goes far beyond merely home defense. The point is moot
          here, however, where these firearms are the best home defense tools available to the plaintiffs denied the right to
27
          purchase them.

 Plaintiffs’ Motion for Summary Judgment - 13
 No. 3:19-cv-05106-RBL
                                                                                                Ard Law Group PLLC
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                                                                                                Bainbridge Island, WA 98110
                                                                                                Phone: (206) 701-9243
                 Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 18 of 23



 1 accounts, they represent the second most popular choice for in-home self defense. Second, because

 2 the state already bans 18, 19, and 20 year old adults from purchasing handguns (the most popular

 3 home self-defense weapon), this second ban does, in fact, destroy the Second Amendment right of

 4 adults to engage in home self-defense.

 5                  3. The Purchase Restriction Is Categorically Unconstitutional.

 6              The restriction overwhelmingly burdens an adult’s Second Amendment rights. Even under

 7 the narrowest understanding of the scope of the Second Amendment—limiting it to self defense

 8 of the home—this ban forbids 18, 19, and 20 year old adults in Washington from purchasing the

 9 most popular firearms available to them for that purpose. Already restricted by the state from

10 purchasing handguns, see RCW 9.41.240,6 this new restriction “amounts to a destruction of the

11 Second Amendment right [and] is unconstitutional under any level of scrutiny.” Silvester, 843 F.3d

12 at 821. As the Ninth Circuit noted, “laws which regulate only the manner in which persons may

13 exercise their Second Amendment rights are less burdensome than those which bar firearm

14 possession completely.” Silvester, 843 F.3d at 827.

15              This blanket ban is too strict to face intermediate scrutiny, as seen by the kinds of

16 regulations for which the Ninth Circuit has applied that tier of scrutiny. In Silvester, the law at issue

17 did not ban purchases, but imposed a 10 day waiting period, and therefore faced intermediate

18 scrutiny. Silvester, 843 F.3d at 818. The Ninth Circuit also applied intermediate scrutiny to a ban

19 on people already found not to be law-abiding, namely, domestic violence misdemeanants. It

20 applied only intermediate scrutiny in part because the challenged law had sufficient exceptions that

21 it did not amount to a complete ban, where an affected person could get his rights restored and

22 lawfully possess firearms. See U.S. v. Chovan, 735 F.3d 1127, 1138 (9th Cir. 2013). No such

23 exception applies here, where the law is a complete ban on law-abiding adults purchasing semi-

24 automatic rifles.

25

26

27   6
         The federal government barred FFLs from selling handguns to those under 21. See 18 U.S.C. § 922(b)(1).

 Plaintiffs’ Motion for Summary Judgment - 14
 No. 3:19-cv-05106-RBL
                                                                                             Ard Law Group PLLC
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                                                                                             Bainbridge Island, WA 98110
                                                                                             Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 19 of 23



 1          The court also applied intermediate scrutiny to a police use-of-force policy governing use

 2 of issued firearms during work for the Seattle Police Department. See Mahoney v. Sessions, 871 F.3d

 3 873, 881 (9th Cir. 2017). Plainly, the police officers already had firearms to which the use-of-force

 4 policy applied; the regulation did not ban them from possessing firearms or using them in self-

 5 defense. Here, these adult plaintiffs cannot purchase firearms. And in Bauer v. Becerra, 858 F.3d

 6 1216 (9th Cir. 2017), the court concluded that “intermediate scrutiny is the appropriate standard

 7 for analyzing the fee scheme” at issue, which added a challenged $5 fee to purchases. This ban on

 8 purchases merits higher scrutiny, the level at which it automatically fails.

 9          The only greater degree of firearms regulation possible in the state would be a complete

10 ban on these adult’s ability to purchase all firearms. If a ban this broad does not fail the

11 constitutional test of Heller, the Ninth’s Circuit’s tiered approach demands only intermediate

12 scrutiny for any imaginable regulation of firearms. Such an outcome contradicts not only Silvester,

13 but also ignores the Supreme Court’s caution in McDonald that courts should not attempt “to

14 assess the costs and benefits of firearms restrictions and thus to make difficult empirical judgments

15 in an area in which they lack expertise.” McDonald, 561 U.S. at 790–91.

16               4. The Restriction Impermissibly Burdens Second Amendment Rights.

17          If the Court does not immediately conclude that the law fails under the Heller / Silvester

18 test as “such a severe restriction . . . that it amounts to a destruction of the Second Amendment

19 right,” Silvester, 843 F.3d at 821, then this law—the most restrictive rifle ban ever imposed in the

20 nation, on the broadest category of firearms, covering 100% of the most popular rifles sold and

21 owned—must face strict scrutiny as a “law that implicates the core of the Second Amendment

22 right and severely burdens that right . . .” Id. A ban that deprives 18 to 20 year old adults of the

23 right to purchase virtually any firearm cannot be justified merely as a “reasonable regulation” of

24 the manner of their exercise of rights protected by the Second Amendment.

25          Here, the state can proffer no reasonable justification for the law in any event. The banned

26 firearms are overwhelmingly common and popular, and are so rarely used in any form of crime that

27 use of one in crime is a statistical anomaly. No one can identify any specific reduction in any crime

 Plaintiffs’ Motion for Summary Judgment - 15
 No. 3:19-cv-05106-RBL
                                                                                  Ard Law Group PLLC
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                                                                                  Bainbridge Island, WA 98110
                                                                                  Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 20 of 23



 1 or other negative behavior that will result from the ban. It has no effective relationship to the

 2 supposed purpose put forward by the state: generic public safety. Nor will the State be able to show,

 3 as it must, that there are no less restrictive means to meet the purpose of public safety it suggests

 4 is the reason for the law.

 5          C. The Interstate Sales Ban Violates The Commerce Clause.

 6          Plaintiff Dan Mitchell challenges the ban on interstate sales of semi-automatic rifles. This

 7 challenged statute forbids all sales by Mitchell or any other FFL of the subject firearms to any

 8 resident of another sate, whether that resident is present in Washington or located in his home

 9 state. This law forbids Mitchell from transferring a self-loading rifle from his business to the

10 business of an out-of-state FFL for delivery to a customer in that state. It also forbids any locally

11 stationed member of the U.S. military whose state of residence is outside Washington from buying

12 a semi-automatic rifle. It eliminated up to 30% of his sales of semi-automatic rifles. This blanket

13 ban discriminates against interstate commerce. “State laws discriminating against interstate

14 commerce on their face are virtually per se invalid.” Camps Newfound/Owatonna, Inc. v. Town of

15 Harrison, Me., 520 U.S. 564, 575 (1997) (internal citation omitted). As the Supreme Court has

16 instructed:

17      [T]he first step in analyzing any law subject to judicial scrutiny under the negative
        Commerce Clause is to determine whether it regulates evenhandedly with only incidental
18      effects on interstate commerce, or discriminates against interstate commerce. . . As we use
        the term here, “discrimination” simply means differential treatment of in-state and out-of-
19      state economic interests that benefits the former and burdens the latter. If a restriction on
        commerce is discriminatory, it is virtually per se invalid.
20

21 Oregon Waste Systems, Inc. v. Department of Environmental Quality of State of Or., 511 U.S. 93, 99

22 (1994) (internal citations and alterations omitted).         Furthermore, this kind of forbidden

23 “[e]conomic protectionism is not limited to attempts to convey advantages on local merchants; it

24 may include attempts to give local consumers an advantage over consumers in other States.”

25 Brown-Forman Distillers Corp. v. New York State Liquor Auth., 476 U.S. 573, 580 (1986). This ban

26 plainly satisfies the test, because it does not matter whether the state describes the ban as imposing

27 harmful burdens on its own citizens, the in-state FFLs who can no longer make profitable sales. By

 Plaintiffs’ Motion for Summary Judgment - 16
 No. 3:19-cv-05106-RBL
                                                                                Ard Law Group PLLC
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                                                                                Bainbridge Island, WA 98110
                                                                                Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 21 of 23



 1 banning interstate commerce, the state has engaged in economic Balkanization that is forbidden by

 2 the interstate commerce clause, just like the law in Brown-Forman and just like the law challenged

 3 in Town of Harrison. There, the law taxed in-state businesses more heavily if they catered to out-

 4 of-state residents, harming in-state businesses and benefitting in-state consumers. The Supreme

 5 Court struck down the law. “By encouraging economic isolationism, prohibitions on out-of-state

 6 access to in-state resources serve the very evil that the dormant Commerce Clause was designed

 7 to prevent.” Town of Harrison, 520 U.S. at 578.

 8          The interstate sales ban cannot survive scrutiny under this long-standing rule. “A state is

 9 without power to prevent privately owned articles of trade from being shipped and sold in interstate

10 commerce on the ground that they are required to satisfy local demands or because they are needed

11 by the people of the state.” Foster-Fountain Packing Co. v. Haydel, 278 U.S. 1, 10 (1928). Whatever

12 reason the state may eventually produce for why it has banned residents of other states and locally

13 stationed military members from buying semi-automatic rifles from a Washington merchant, it has

14 enacted a ban on “privately owned articles of trade from being shipped and sold in interstate

15 commerce,” a ban the state lacks the power to create. See also New England Power Co. v. New

16 Hampshire, 455 U.S. 331, 338 (1982) (“Our cases consistently have held that the Commerce Clause

17 of the Constitution, Art. I, § 8, cl. 3, precludes a state from mandating that its residents be given a

18 preferred right of access, over out-of-state consumers, to natural resources located within its

19 borders or to the products derived therefrom”). Because “[a] discriminatory law is virtually per se

20 invalid . . . [it] will survive only if it advances a legitimate local purpose that cannot be adequately

21 served by reasonable nondiscriminatory alternatives . . .” Department of Revenue of Ky. v. Davis,

22 553 U.S. 328, 338 (2008).

23          “In all but the narrowest circumstances, state laws violate the Dormant Commerce Clause

24 if they mandate differential treatment of in-state and out-of-state economic interests that benefits

25 the former and burdens the latter. . . State laws that directly discriminate against out-of-state

26 entities can survive only if the state demonstrates both that the statute serves a legitimate local

27 purpose, and that this purpose could not be served as well by available nondiscriminatory means.”

 Plaintiffs’ Motion for Summary Judgment - 17
 No. 3:19-cv-05106-RBL
                                                                                 Ard Law Group PLLC
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                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 22 of 23



 1 Nationwide Biweekly Administration, Inc. v. Owen, 873 F.3d 716, 736 (9th Cir. 2017) (internal

 2 citations and alterations omitted). Plaintiffs have shown that the law is facially discriminatory and

 3 per se invalid. It falls to the state to invent a justification.

 4           D. The Plaintiffs Are Entitled to an Award of Attorney’s Fees

 5           This Court recognized in its Order on Motions to Dismiss, Dkt 044, that in an action under

 6 Ex Parte Young, 209 U.S. 123, 156 (1908) against defendants acting in their official capacity, the

 7 remedies under 42 U.S.C. § 1983 are available even if the Plaintiff(s) neither seek nor are entitled

 8 to damages under Monell v. New York City Dept. of Social Services, 436 U.S. 658 (1978). Order, at

 9 13 n.4: “Fortunately for Plaintiffs, [failure to qualify for damages under Monell] does not actually

10 eliminate any of the remedies available to them. Plaintiffs only ask for declaratory and injunctive

11 relief, which is already available in an Ex Parte Young action.”

12           Plaintiff will present a supplemental motion for an award of attorney’s fees when this Court

13 determines that Plaintiffs have established a violation of their civil rights pursuant to 42 U.S.C.

14 § 1983.

15 IV.       Conclusion

16           I-1639 prohibits Washington citizens from purchasing a firearm that is in common use by

17 law-abiding persons for law-abiding purposes. It also discriminates between in-state and out-of-

18 state purchasers in violation of the interstate commerce clause. I-1639 is not a reasonable regulation

19 narrowly tailored to promote the public safety while respecting the most basic and fundamental

20 right to self-defense. Instead, it subjects a category of particularly useful and popular firearms to

21 flat prohibition, and discriminates against out-of-state purchasers in clear violation of the interstate

22 commerce clause. Declaratory and injunctive relief should issue.

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 Plaintiffs’ Motion for Summary Judgment - 18
 No. 3:19-cv-05106-RBL
                                                                                 Ard Law Group PLLC
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                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243
             Case 3:19-cv-05106-RBL Document 76 Filed 03/10/20 Page 23 of 23



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 Plaintiffs’ Motion for Summary Judgment - 19
 No. 3:19-cv-05106-RBL
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